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United States v. Henry Baird

Case No: 4:17-CR-00139

Judge Matthew W. Brann

                          GOVERNMENT’S EXHIBIT LIST-SENTENCING



                  Completed by Counsel                        Completed by Courtroom Deputy
 Exhibit No.             Exhibit Description                Date        Date        Witness
                                                          Identified Admitted
      1           Henry Baird FBI Interview 04/13/2017

      2            UCE Report 04/07/2017 Controlled
                              Delivery

      3              Transcript Controlled Delivery
                              04/07/2017

      4          FBI Evidence Collection Report – Henry
                      Baird Residence 04/13/2017




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FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION


                                                                                                                            Dateofentry 04/24/201'7

                HENRY LAMBERT               BAIRD , date of birth     7, home address     (DOB)
          730 Greenleaf Street, Apartment 2, Aflentown, Pennsylvania was interviewed
          at the FBI Alfentown Resident Agency. After being advised of the identity
          of t.he interviewing Agent.s and the nature of the interview, BAIRD provided
          the following i-nformation:
             HENRY BAIRD was taken into custody pursuant to an arrest warrant issued
          by the United States District Court for the Middle District of
          Pennsylvania, signed by United States Magistrate Judge Will-iam Arbuckfe
          ITI on April 11, 2011. Prior to Mlranda warnings being read to BAIRD,
          while st.ill- at 1023 West Emaus Street/ All-entown, Pennsylvania, BAIRD was
          asked where his .357 revol-ver was. BAIRD advised that it was in the
          basement. The gun was subsequently located in the basement and seized by
          the FBI and placed into evidence.
                        read his Miranda warnings at 9:35 a.m. and BAIRD elected to
                BAIRD was
          speak with the FBI. BAIRD signed the FD-395 Advice of Rights form before
          questioning commenced. The interview was recorded (audio and video) and
          the foll-owing narrative is not a verbatj-m text of the interview, but only
          hightighted portions from notes kept during the course of the interview:
                    advised that he possessed the .357 Taurus revol-ver for
                BAIRD
          protection, and that he had been scared for his life recently.
                   l-isted out several individuals who were part of Combat 18 as
                BAIRD
          enforcers: JOHN PRESSLEY and RUSS LNU.
                                 President of the Aryan Strikeforce (ASF). BAIRD got
                BAIRD had been made
         in touch with the founder of the group, JOSHUA STEEVER, through Facebook
         two or t.hree months ago, however, had known him since he was a kid and had
         met him at a punk rock show. BAIRD traveled to STEEVER's residence in
         Phillipsburg, New Jersey and subsequently joined the ASF. BAIRD described
         STEEVER as "explosive" and "angry" and that he wanted to do something for
         his race.
             BAIRD also advised that "Boots" and "Rocko" were also part of his ASF
          unit. "Rocko" l-ived in Virginia and was thought to be a drug addict based



  Investigationon        04/73/2071               at Aflentown, Pennsylvania, Unlted States (In Person)
    # 10 0N-pH-2 0 9 3 5 0 0, 266N-?H-2L48929
  File                                                                                                                      Date   drafted 04 / 27 / 2071

  by KYle D. Moore
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  to be distributed outside 1,ou1 nggn6y.
                                                                                                               US v. Henry Baird, GEX 1
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FD302a (Rev. 05-08-10)


          100N-PH-2093500
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Continuation of FD-302   o1   (U   ) Interview of Henry Baird.      Orr   / 20L1   Page 2 of   3



           upon the way he acted. Rocko drove a white SUV with Virginia plates. BAIRD
           also recal1ed that the SUV had Trump stickers and a confederate flag on
           ir.
              The Combat 18/Blood and Honor indivrdual-s that BAIRD knew were RUSS,
           MIKE LNU/ and JOHN PRESSLEY. These individuals were "the real deal-" and
           coul-d make a phone cafl and yourd be dead. There was afso a guy named
           "Chris" who bought guns that they dealt with.
              BAIRD, along with STEEVER, BooLs, and Rocko, provided security for a
           deal set up by the C1BlBIood and Honor individuals. The last time BAIRD
           had helped with one of these deal-s was several weeks ago. BAIRD met RUSS
           LNU, STEEVER, and Rocko at the Go1den Corraf and were told that they were
           moving meth and guns, and then also recalfed a meeting with RUSS at a taco
           place in Maryland. BAIRD wasnrt told what he was running until after the
           second deal.

              The first deal BAIRD was paid approximately $700.00; JOSHUA STEEVER was
           the one that. gave him the money. The guy that t.ook t.he package and paid
           STEEVER was CHRIS LNU, who drove 1n a vehicle with Virginia pl-ates. The
           second deal BAIRD was paid $1200.00. They had been paid exLra for moving
           gun parts, which included Glock "chips" that converted a Glock into a fufl
           auto submachine gun.
              BAIRD understood t.hat a percentage of the money was to be used to
           purchase gift cards at Target., and t.hat once the glft card was purchased,
           it was to be given to RUSS LNU. JOSHUA STEEVER had tofd him that it was
           for gun purchases, to include a .380 Walther. BAIRD purchased a gift card
           during one of these transactions and it was provided t.o RUSS.
                                   his Taurus revolver from a guy named TODD DIMLER
                  BAIRD had purchased
           (phonetic spelling) for approximately $300.00. DIMLER used to live near
           BAIRD on Greenfeaf Street in Aflentown, PA, and now li-ves by the Lehigh
           VaJ-Iey Jaif. BAIRD purchased it a couple mont.hs ago and had never flred
           -LL.


                                       particular chapter of ASF that BAIRD was a part
                  STEEVER had founded the
           of.     RUSS LNU helped set it
                                       up. BAIRD estimated that JOHN PRESSLEY was high
           within Combat 18/Blood and Honor, buL that RUSS LNU was even higher than
           PRESSLEY. BAIRD recal-fed an incident where RUSS told BAIRD that if he
           touched any of the product being transported, RUSS would "put a bullet in
           my head." BAIRD did not know of any pictures of RUSS in exisLence. RUSS
           had a brownish beard, stocky, tall and was approximately 49 or 50 years of
           age. MIKE LNU had a beard, was skinnier, and always wore a hat, and was in
           his late 40's. BAIRD thought he was one of the originaf Combat 18 members.


                                                                     US v. Henry Baird, GEX 1
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            100N-PH-2093500
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Continuation of FD-302   ng   (U   ) Interview    of Henry Baird   .           Otr   / 20L1     Page   3of3

                    was the one that called the shots; JOHN PRESSLEY was high in the
                   RUSS
            hierarchy, and MIKE was lower in the organization. CHRIS LNU drove a white
            truck.
                             with the C18 members, along with STEEVER and Rocko at a
                  BAfRD met up
            mall in Maryland. BAfRD thought that the methampheLamine came from
            Pennsylvania. Rocko would drive up from Virginia and stay at STEEVER's
            pl-ace; BAIRD thought that Rocko had been a member of STEEVERTs crew for a
            long time. Both deafs have been a three man crew put together by STEEVER.
               During the l-ast deal there had not been an explanation about the gun
            parts, which were in a l-arge box, along with some Gfock "chips." The box
            was p-Iaced into Rocko's car. BAIRD felt t.hat the individual who was
            receiving this stuff was "preparinq for a war" but was not 1n a position
            to ask the C18 guys where it was going.
               JOSHUA STEEVER had bought a shoLgun from DAVID COMPTON, who lived in
            Brick, New Jersey. BAIRD knew COMPTON from prison and woul-d not testify
            against COMPTON if asked. The shotgun was bought for $400.00.
                  JACOB ROBARDS,             aka "booLs" Iived in STEEVER's place j-n New Jersey.
              BAIRD felt that the C1B guys knew something was goi-ng on because they
            went "black 1ight" and stopped returning BAIRD's call-s.
                  BAIRD       provided a password for his iPhone of 167488.
               The FD-395 will                   be preserved along with this interview i_n a   1a
            envelope.




                                                                                 US v. Henry Baird, GEX 1
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FD302 (Rev   5-8- 10)                                                                                                                            I




                                                 FEDERAL BUREAT] OF INVESTICATION


                                                                                                                          Date    ofentry        a4   /   13   /2071


             Oo 04/01 /2071 UCE-6259 took part in an undercover operation involving
         the controlfed delivery of multiple kiLograms of methampheLamine
          (simulated) . AR-15 rifle lower receivers, and Glock pistol rear
         plates. Said deliver:y took place between UCE-6259 and UCE-6361 and was
         facilitated by targeted subjects JOSHUA STEEVER aka HATCHET, JUSTIN LOUGH
         aka ROCCO/ and HENRY BAIRD. The folloi{iing is a summary of the days event.


            UCE-6259 met wi,th the afore mentioned subjects at a predetermined
        Iocation in Harrisburg/ PA. Once at the location UCE-6259 showed STEEVER
        the bags containing the methamphetamine, the box of receivers, and Lhe bag
        containing the Glock parts. UCE-6259 and STEEVER then place the items
        into LOUGHTs vehicle and the group left the area in route to the
        predetermined delivery location in Hagerstown, MD. UCE-6259 and STEEVER
        traveled in the UCErs rental vehicle while LOUGH and BAIRD traveled in
        LOUGH's vehicle.



            Ulhlle en-route to the delivery location STEEVER advised UCE-6259 that
        he and BAIRD had been ln an aftercation with tiro black males the day prior
        in which BAIRD used brass knuckles. STEEVER also advised that BAIRD had
        attempted to shoot a yet unident.ified white, male who had been "hanging
        around" the group. STEEVER described the incident in detail t.o inc.Iude
        BAIRD taking a revofver and pfacing it to the head of the vicLim. BAIRD
        then cocked the hammer back manually/ and began to puII the trigger. Just
        prior to the gun firinq, the victim struck BAIRD's hand causing the round
        to miss the intended target.


           As the group neared the delivery Iocation, UCE-6259 stopped and had
        STEEVER and BATRD switch vehicles in order for STEEVER to complete the
        controlled delivery with UCE-6361 and so 1-haL UCE-6259 could talk directly
        with BAIRD about the shooting incident. I^lh.ile the group drove the last
        few miles to the predetermined meeting location UCE-6259 spoke with BAIRD



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                                                                                                                         your agency, it and iis contents are not
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 to b€ distribut d outsrde yow agency.
                                                                                                              US v. Henry Baird, GEX 2
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continuarion ofFD.3o2   of (u) undercover meeting                   On    /2071    Page   2 af   2



           about the shootinq incident. BAIRD described the same scenario as
           previously ment.ioned and admitted to trying to shoot the
           lndlvldual.   BAIRD added that Lhe round went past the victims head and
           through the floor caus.ing a water pipe to break.


              Once at the delivery location, STEEVER and LOUGH met with UCE-6361 and
           transferred the items into the UCE's vehicle while UCE-6259 and BAIRD
           watched from a distance. See 302 by UCE-6361 for specific details of the
           delivery and pal,.ment for same. The group then traveled to a nearby Target
           store and then concluded the event. STEEVER, BAIRD and LOUGH stayed in the
           area to eat and the two UCE'S left the area and met with the case team at
           another location.


              ucE-6259 notes that the days event was recorded via body
           recorders.  See recordings for specific details and verbiage of said
           event .




                                                                     US v. Henry Baird, GEX 2
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UCE = UCE 6259

JS= Joshua Steever

JL= Justin Lough

HB= Henry Baird

UI= Unintelligible



04/07/2017: 4th Run. Harrisburg to Hagerstown, MD.



UCE: 4:58: What’s up boys?

JS: 5:00: Hey bro. Mark just said his phone’s fucked up.

UCE: 5:03: Ok, I don’t know, that ‘s the guy we’re seeing right?

JS: 5:07: Yeah.

UCE: 5:07: Ok.

UCE: 5:10: They said you were on, on point on this one so let me show you what I got.

UCE: 5:29: So that’s the bag of fucking meth, same product, same bullshit. This is the hot one though.
He’s gonna count all of these from what we’re told.

JS: 5:40: Ok

UCE: 5:40: AR lower units.

JS: 5:42: Nice.

UCE: 5:44: This is really what he’s gonna look for. I don’t know exactly how they work, apparently
they’re supposed to be some kinda fucking part to a glock.

JS: 5:52: Ahh, I know what those are.

UCE: 5:46: That makes it fully rock and roll.

JS: 5:55: Yep.

UCE: 5:55: You know what I’m saying?

JS: 5:55: Yep. That’s what Rus was showing me last time.

UCE: 5:58: I don’t know what…I don’t know where they go or how they work, or whatever, but this, this
and this is apparently really what he’s looking for. This is just the same business as usual, so, he told me
to show them to you. I don’t know how many are in here, I didn’t fucking count them. There’s like 50 or
so. 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 20, 30, 40, yeah 50 of them so.




                                                                US v. Henry Baird, GEX 3, p. 1
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JS: 6:17: Ok.

UCE: 6:17: So that’s what he’s gonna be looking for, that I doubt he’ll even stare out from what Rus says.
So I’m gonna tape this shit up

JS: 6:24: Yep.

UCE: 6:24: In case you guys get fucking pulled over or whatever then it’s just a fucking taped up box. You
know what I’m saying?

JS: 6:28: Am I riding with you or something?

UCE: 6:30: Nah, this is all, I’m giving it to you guys, you guys fucking roll with it. I got the address. I know
where we’re going, but do you guys have it?

JS: 6:36: Nah.

UCE: 6:36: Same place we were last time

JS: 6:38: Ok.

UCE: 6:39: At that fucking uh, same parking lot, so

JS: 6:41: Do you have any cash on you brother? We’re almost out of gas.

UCE: 6:44: Yeah yeah yeah man, lets uh, there’s a, there’s one on the other side of the parking lot over
there. We’ll go over there.

JS: 6:49: Ok.

UCE: 6:59: How you guys been man? You doing alright?

JS: 7:00: Yeah UI fuckin had UI fucking shit last night.

UCE: 7:04: Oh yeah what happened?

JS: 7:04: Fucking niggers got us.

UCE: 7:07: Really?

JS: 7:08: Yep, we were heading home last night over in Easton

UCE: 7:12: Yeah?

JS: 7:12: Fucking niggers fucking jumped on us

UCE: 7:15: Anybody get hurt?

JS: 7:17: Henry’s fucking er jaw was fucked up right now

UCE: 7:20: Yeah?

JS: 7:21: The niggers were like what’s that on your patch? UI asking UI they walked past me fucking got
Henry. They asked Henry what’s on his patch, Henry said my fucking knuckles




                                                                  US v. Henry Baird, GEX 3, p. 2
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UCE: 7:34: Yeah?

JS: 7:34: Fucking nigger, fucking, the other nigger fucking hit fucking him, fucking one nigger, that Henry
guy, hit him like 5 times with knuckles.

UCE: 7:43: Nice.

JS: 7:44: I got UI nigger I got him, I got him in the fuckin jaw UI fucking jaw.

UCE: 7:49: Nice.

JS: 7:51: Pretty good.

JS: 7:52: That’s when they took off. Then I told Henry let’s go. I got him up off the ground.

UCE: 7:56: Get out of there bro.

JS: 7:57: got him over, I told Mark, I called him when I got home. I forgot to call him.

UCE: 8:03: It’s just a nigger bro, what do you expect?

UCE: 8:22: Just throw it on top bro. What’s up big guy?

JL: 8:24: How you doing?

UCE: 8:24: Same shit different day man.

HB: 8:26: What’s up man? How you doing?

UCE: 8:32: Felt better? Understand you guys had a little dust up last night?

HB: 8:37: Yeah, UI.

UCE: 8:38: Doing alright man?

HB: 8:38: I’m alright.

UCE: 8:39: Yeah?

HB: 8:40: It’s alright. Brother was UI.

UCE: 8:44: They’ll get theirs.

HB: 8:45: I got them.

UCE: 8:46: I heard.

HB: 8:46: Motherfucking nigger came up, “what the fucks on your jacket” I blasted him with a brass
knuckle, hit him like 6 to 7 times in the face. This other guy stuck me, knocked my UI off, Josh UI

JS: 21:46: Henry almost fucking put a bullet in someone last night too.

UCE: 21:50: What?

JS: 21:51: Fucking kid. Fucking kid was hanging out with us




                                                                  US v. Henry Baird, GEX 3, p. 3
        Case 4:17-cr-00139-MWB Document 420 Filed 06/10/20 Page 10 of 23



UCE: 21:54: Yeah?

JS: 21:54: UI fucking and he said we’re a bunch of punks and Henry was like “oh we’re a bunch of
punks?” and he was like Henry put him down, he was like and put his .357 to his head, he was like
“we’re punks?” and Henry clicked back, he was like “you ready to die?” And the kid was like I’m not
afraid to die. UI Henry pulled the trigger and the kid fucking hit his arm and he put a fucking round
through his fucking floor.

UCE: 1:26:30: You know what he looks like?

JS: 1:26:30: Yeah

UCE: 1:26:31: What he’s driving? You got his information so you guys fucking find him and do what you
need to do and we’ll post up and watch and then just shoot me a call when you’re done.

JS: 1:26:39: Alright brother.

UCE: 1:26:39: Alright.

HB: 1:29:54: Then I had a fucking UI, somebody at my house the other night. Last night he disrespected
our club. UI fucking floor. Put it right on his forehead, said I’ll blow your fucking head off. Before I
pulled the trigger I cocked it, he fucking blocked it, through the fucking floor hit the goddamn
motherfucking water pipe.



UCE: UCE 6361

JS: Joshua Steever

HB: Henry Baird

JL: Justin Lough

UI: Unintelligible

UCE: 21:54: What’s up brother?

JL: 21:55: How’s it going?

UCE: 21:56: What’s going on?

JL: 56: Eh, you know, UI working hard, breaking my back.

UCE: 22:01: There you go.

JL: 22:01: Probably have the back of a fucking sixty year old man right now. But I got those fucking
anchors for you.

UCE: 22:08: Alrighty

JL: 22:14: Where do you want them?

UCE: 22:15: Put them in the back.




                                                               US v. Henry Baird, GEX 3, p. 4
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JL: 22:21: Got some sheetrock too if you want it. Get it the hell away from me.

JS: 22:25: Where do you want this at brother?

UCE: 22:25: Ah, just UI me.

JL: 22:32: Good seeing you.

UCE: 22:32: Yeah good seeing you. Hey I’m gonna, hey Josh, I’ll jump in with you guys. Hold on.

JL: 22:34: Alright

UCE: 22:37: Just give me a second.

JL: 22:37: Ok.

UCE: 22:38: Alright?

UCE: 24:38: What’s happening fellas?

JL: 24:39: Yeah, you know.

UCE: 24:41: Oh shit you weren’t kidding about the sheet rock. (laughter)

UCE: 24:45: Where’s my man Henry?

JS: 24:47: He’s in the other truck.

UCE: 24:47: Ok. Why don’t you go.

JL: 24:48: Where to?

UCE: 24:50: Uh, why don’t you just pull down in the lot.

JL: 24:55: Your call, cause I’m fucking hungry. Come on you stupid fucking nigger.

UCE: 25:15: Just pull it straight in.

JL: 25:15: Ok.

UCE: 25:30: If that’s him, have him come down this way. I want to talk to him too. That’s for you.

JL: 25:41: mmhmm.

UCE: 25:42: that’s for him.

UCE: 25:47: Hey man, make sure. Go ahead and count it, make sure it’s right. Should be 12 because uh
in addition to the meth there were the sears and the guns so

JL: 26:00: I appreciate it.

UCE: 26:01: I added a little bit more.

JL: 26:03: That means I can make my rent.

UCE: 26:04: There you go.




                                                              US v. Henry Baird, GEX 3, p. 5
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JL: 26:04: And say, fuck the police. (laughter)

UCE: 26:06: There you go.

JS: 26:08: Are we doing the cards today?

UCE: 26:09: Yeah. If you still want the…

JS: 26:11: I wanted to talk to you about that for Henry

UCE: 26:13: Ok

JS: 26:13: He needs to pay parole and stuff. Jon told me don’t worry about Henry at this time.

UCE: 26:17: Ok.

JS: 26:19: But we’re doing it.

UCE: 26:19: Ok. That’s cool. Yeah, I mean, it’s totally up to you guys.

JS: 26:22: Should I give the cards to you?

UCE; 26:23: Yeah you can just give them to me.

JS: 26:24: Did you find out about this?

UCE: 26:26: The uh, yeah yeah yeah, it should be just probably 2, 3 weeks now.

JS: 26:30: Cool.

UCE: 26:30: You see what we’re doing.

JS: 26:31: Yeah, yeah.

UCE: 26:31: right, I mean

JS: 26:32: UI nice.

UCE: 26:32: Yeah, right? So, is that something you guys would be interested in?

JS: 26:37: Yeah.

UCE: 26:38: Cause I mean, that’s what he does mostly.

JS: 26:38: I need something to keep on me.

UCE: 26:40: Ok.

JL: 26:41: Yeah.

JS: 26:42: You like that? (phone rings)

JL: 26:44: When is the big job?

UCE: 26:48: The big job? That’s what I wanted to talk to you about. So..

JL: 26:52: You want to talk in here, you want to talk at Thai, what do you want




                                                                US v. Henry Baird, GEX 3, p. 6
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UCE: 26:54: Nah, that’s alright.

JL: 26:55: It’s up to you.

JS: 26:56: Call Henry’s phone and tell him to pull over over there. Tell him UI.

UCE: 27:03: These phones are fucked. Are you phones fucked up around here? Mine

JL: 27:05: No.

UCE: 27:05: No?

JL: 27:06: I’m good here. Not that I’ve seen. Oh no UI, was he talking about last time about Rus’s phone?
Mine works perfectly.

UCE: 27:10: Yeah, yeah, mine was fucked up too. Alright, good.

JL: 27:13: Who do you have?

UCE: 27:15: Uh, not T-Mobile, ATT I think?

JL: 27:20: Oh, ok, I got boost.

JS: 27:22: That was them.

JL: 27:22: Oh was it?

JS: 27:24: Yeah.

JL: 27:25: Oh, that might be my call

JS: 27:25: I didn’t know the number right off hand. So I only answer fucking numbers I know.

UCE: 27:32: Uh, the big job?

JL: 27:32: mmhmm

UCE: 27:32: Probably in the same time period, next 2, 3 weeks. Are you guys around next week? Cause I
got to go check something out next week, make sure it looks right. At the end of the week, I was
thinking about meeting with you guys and talking about it. Are you around?

JL: 27:58: Yeah, you got my number?

UCE: 28:19: I think it’s gonna be good. But I got to go take a look at it this week.

JL: 28:22: How good?

UCE: 28:23: I mean, more than this. For sure.

JL: 28:25: For sure?

UCE: 28:27: Yeah.

JL: 28:27: Double?

UCE: 28:28: Probably something like that.




                                                                 US v. Henry Baird, GEX 3, p. 7
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JL: 28:30: Enough to fucking blow my load? (Laughter) Oh man, I can’t wait.

JS: 28:37: Dude I think…they were nice.

UCE: 28:37: Yeah, yeah.

JL: 28:43: I might just start uh, I might just fucking stacking it and stacking it and I’m just gonna say fuck
the east coast. Southwest is the place for me.

UCE: 28:49: Go back to Arizona?

JL: 28:52: Yeah buddy.

JS: 28:52: Move back up this way.

JL: 28:54: Uh uh, dude I’ve been up in Jersey and up there is no…fuck Jersey. It is not the same beautiful
fucking place it was when I was a kid. It’s a fucking cess pool.

UCE: 29:03: Hey man, there’s gonna be a…just go give this to him. Hey man, I just wanted to give this to
you.

HB: 29:18: Thank you.

UCE: 29:19: Much respect.

UCE: 30:29: Hey, I didn’t want to talk too much, I know that’s Rus’s guy, I’m sure he’s cool, but I didn’t
want to talk too much. Umm, so the bigger job is coming up. If you can, you know, its gonna be
probably…3 would be fine, but as many guys as you can get. It’s not gonna take away from your share,
it’s going to be per person, so as many guys

JS: 30:52: Like anyone I fucking find I’m gonna have you run em.

UCE: 30:54: Yeah, yeah, that’s good. Like that, I mean, is that Dave dude out of it?

JS: 30:59: Yeah, he’s still here. I’ll let you know if he’s out

UCE: 31:02: Ok. Yeah.

JS: 31:02: I just want to talk to him.

UCE: 31:04: Ok.

JS: 31:05: I’m gonna have Henry talk to him, I told Henry to make sure he talks to him, and make sure
he’s fuckin

UCE: 31:10: I mean it’s not, you know, like I said when we met up in Harrisburg, you know, it’s whatever.
If you guys want to do it, people want to work, they want to work, if they don’t

JS: 31:17: Yeah, we’re definitely

UCE: 31:17: There’s no shame in that. I’m here to make money.




                                                                  US v. Henry Baird, GEX 3, p. 8
         Case 4:17-cr-00139-MWB Document 420 Filed 06/10/20 Page 15 of 23



JL: 31:20: Hey, what about my old sponsor? Once he’s back in the picture?

UCE: 31:29: You just got to let me know who it is so I can check them out.

JS: 31:32: UI

UCE: 31:35: That’s alright, you guys can just go to Target. That’s fine.

JS: 31:51: How much do you want us to put on?

UCE: 31:53: I mean, what have you been, you’ve been doing like 4 right?

JS: 31:54: Yeah.

UCE: 31:54: If that’s what you can handle that’s good but you know I think what, one of you all did less
than that last time right?

JL: 32:05: I started dropping 2 cause it kept coming around the end or the beginning of the fucking
month

UCE: 32:09: I got you, I mean, do what you gotta do.

JL: 32:11: I appreciate it. I mean hell, it’s cool that you’re fucking even bringing me along for this shit.
You have no idea how much this fucking helps me.

UCE: 32:18: Yeah man.

JL: 32:23: I like it a lot man.

UCE: 32:25: So Josh

JL: 32:25: Strangely enough it comes at the perfect fucking time when I’m like at the worst off, I’m like
fuckin stressing and then oh I get the call, oh fuck yeah!

UCE: 32:35: I told you more jobs coming up man. Like I said, something a little bigger. It’s gonna be a
little different if it, if it looks like I think it’s gonna look. It’s gonna be a little different than this but I think
you guys, you guys can handle it, it’ll just be whether you want to do it or not.

JL: 32:50: It’s not really about even wanting or not wanting to do it, it comes down to need, need to do
it, you know, you got to do what you got to do to survive anymore

UCE: 32:59: Yeah but

JL: 33:00: You can’t really be picky and choosy, you just got to bite the bullet and do what you got to do.

UCE: 33:02: Yeah but I’d never force anybody to do anything they didn’t, you know what I mean? It’s, it’s

JL: 33:06: Oh no, I understand that

JL: 40:52: Merry Christmas! Hey buy yourself something nice. (Laughter)

UCE: 40:55: Buy you something nice, how bout that?

JL: 40:57: Ahh, yeah!




                                                                       US v. Henry Baird, GEX 3, p. 9
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UCE: 41:01: Call me Santa Claus with the beard and a bag full of goodies.

JL: 41:03: Hell yeah!




                                                            US v. Henry Baird, GEX 3, p. 10
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                                                                                                                                                   Orrrcrl!.. Hscono
FDl087(Rev   5-8-10)                                                                                                                        t.::
                                                               rrNcr.AssrFrED//Fouo                                                          1:


                             FEDERAL BUREAU C)F TNVESTTGATICDN
                                                                  Collected ltem Log

         Event Tit].e:                 (U) Henry Baird, 13 April 20L'7,                                                  Date:         04/L'7 /2017
                                       1023 W Emaus Affentown PA

         Approved By:               SSRA SEAN M NOEL


         Drafted By: Mark                    Evans

         Case ID #:              100N-PH-2093500                         (U) ARYAN STRIKEFORCE (AS);
                                                                         WHITE SUPREMACY EXTREMIST;
                                                                         TERRORISM ENTERPRISE INVESTIGATION
                                                                          (TEI);
                                                                         SENSITIVE INVESTIGATIVE MATTER (SIM) ;
                                                                         AOT-DT OO:PH
                                 256N-PH-2r48929                         (U//FOUO) HENRY LAMBERT BATRD;
                                                                         DT-VilHTTE SUPRE}4ACIST EXTREM]STS;
                                                                         TIER 6-ALL             OTHERS


         Ful-1 Investigation                    Initiated:               L0/2L/2076

         Col].ected From                        Henry Baird
                                                1023 W Emaus
                                               Allentown, Pennsylvania
        Receipt Given?:                     Yes

         Holding Office:                    PHILADtrLPHIA

        Details:
         Ttems seized 13 April 201'l from 1023 W Emaus St All-entown PA in
         conjunction with arrest of Henry Baird

         Item Elpe                         Description




                                                               rrNcr.AssrFrED//Fouo
       This docurnent contains neither recommendations nor conclusions ofthe FBI. It is the property ofthe FBI and is loaned to your agencyi it and its
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                                                                                                           US v. Henry Baird, GEX 4
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                           t Ncr,AssrFrED//Fouo

Titfe: (U) Henry Baird, 13 Aprrl 2011, 1023 W Emaus Alfentown   PA
Re: 100N-PH-2093500 , 04/1-1 /207'1


1B Firearm        (U) Taurus Revolver .357
                 Coffected On: 04/13/2071 L2:00 AM EDT
                 Receipt Number: 1
                 Seizlng Individual:   Kyle D. Moore
                 Collected By: Kyle D. Moore
                 Locatlon Area: Basement
                 Specific Location: back bedroom
                 Firearm Type: Weapon
                 Fi-rearm Weapon Type: Weapon
                 Make: Taurus
                 Mode]: revolver
                 CaIi-ber: .357
                 Serial #: KH473101
                 Weapon is visuafly made safe or rendered
                 inoperable?: Yes
                 Made Safe By: Timothy K. O'MalIey

18 Genera]       (U) Miscellaneous cfothing fLems
                 Coll-ected On: 04/L3/2011 72:00 AM EDT
                 Receipt Number: 2
                 Sej-zing fndividual: Kyle D. Moore
                 Collected By: Kyle D. Moore
                 Location Area: Basement
                 Specific Location: cornmon area

1B Firearm       (U) Ammunition LVinchester 3B Special 150 grain.    42
                 unfired cartridges.
                 Colfected On: 04/73/20L1 !2:OO AM EDT
                 Receipt Number: 3
                 Seizing Individual-: Kyle D. Moore
                 Collected By: Kyle D. Moore
                 Location Area: Basement
                 Specific Location: back bedroom
                 Firearm Type: Other
                 Eirearm Type Other: Ammunition/Magazine




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                                     2




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                          t Ncr,AssrFf,E,D/   /Fovo
Title: (U) Henry Baird, 13 April 2011, 1023 W Emaus Alfentown    PA
Re: 100N-PH-2093500 , 04/l'l /201'l


18 Digital       (U) Laptop HP, Model 15-r}29wmRev:2213-700
                 Serial- + CND4 476CF4
                 In black bag with speakers and assorted cords and
                 items
                 Col-lected On: 04/L3/2017 72:00 AM EDT
                 Receipt Number: 4
                 Seizing Individual:  Kyle D. Moore
                 Collected By: Kyle D. Moore
                 Location Area: Basement
                 Specific Location: common area
                 Device Type: Laptop/Tablet Computer
                 Make: HP
                 Model: L5-r029wmRev:2213-100
                 Serial Number: CND4 476CF4
                 Number of Devices Collected: 1

18 Digital      (U) External Hard Drives (2)
                Toshiba 1 terabyte - bfack Serial # 543YS7I2STT1
                Toshiba 1.5 Terabyte black Serial + Y25YT8FOTTV2
                Col-.]-ected On: 04/13/207'1 72:00 AM EDT
                Receipt Number: 5
                Seizing Individual:    Kyle D. Moore
                Collected By: KyIe D. Moore
                Location Area: Basement
                Specific Location: common area
                Device Type: Portable Hard Drive
                Make: Toshiba
                Serial Number: 643YS712STT1, Y25YT8FOTTV2
                Data Capacity: 1 TB, 1.5TB
                Number of Devices Coflected: 2




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                           t Ncr,AssrFrED/       /Fovo
Title: (U) Henry Baird, 13 April 20L'7, 1023 W Emaus          Af lent.own PA
Re: 100N-PH-2093500, 04/7'l/20L7


18 Digrtal       (U) Two Apple Ipods: Model A367- 8GB, Model A1367
                 )a
                 JL   aD
                      VD
                 Collected On: 04/13/2011 L2:00 AM EDT
                 Receipt Number: 6
                 Seizing Individual:   KyIe D. Moore
                 Collected By: KyIe D. Moore
                 Location Area: Basement
                 Specific Locat,ion: common area
                 Device Type: Other
                 Ot.her Device Type: IPOD
                 Make: Apple
                 Model: IPOD 8 cIG, 32 cIG
                 Serial Number: A'367, AL36'7
                 Number of Devi-ces Col]ected: 2

18 Digital       (U) LG Cel-l- Phone - Tracfone - Model #         LG328BG Serial-
                 # 603CQLH949'84
                 Iphone - Mode1 # A1533 Serial- + 352007061386354
                 Both phones recovered in same Iocation
                 Col-lected On: 04/L3/207'7 72:00 AM EDT
                 Receipt Number: 7
                 Seizing Individual:   Kyle D. Moore
                 Collected By: KyIe D. Moore
                 Location Area: Basement
                 Specific Locat.ion: cornmon area
                 Devj-ce Type: Cef f Phone
                 Make: LG, Iphone
                 Model: LG328BG, A1533
                 Seria-I Number: 503CQLH949584 , 35200706138         6354
                 Number of Devices Collected: 2




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                                         4




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                          rrNcr.AssrFrED//Fouo
Title: (U) Henry Baird, 13 April 20L1, 1023 W Emaus Allentown    PA
Re: 100N-PH-2093500 , 04/L1 /2011


18 General       (U) LG Bfuetooth Wireless Headphones Model # HBS-900
                 SeriaI # Fo6bC47EO62862
                 Zippered Case with USB power bank and earbuds.


                 Coll-ected On: 04/L3/20L1 12:00 AM EDT
                 Receipt Number: 8
                 Seizing fndividual:  KyIe D. Moore
                 Collected By: Kyle D. Moore
                 Location Area: Basement
                 Specific Location: cornmon area

18 Generaf       (U) Mlsc. Documents



                 Coll-ected On: 04/73/20L1 12:.00 AM   EDT
                 Receipt Number: 9
                 Seizing Individual:  Kyle D. Moore
                 Collected By: KyIe D. Moore
                 Location Area: BasemenL
                 Specific Location: common area

18 General       (U) Yellow Bong w/ aggravated assauft sticker


                 Collected On: O4/L3/2011 ),2:00 AM EDT
                 Receipt Number: 10
                 Seizing Individual: Kyle D. Moore
                 Collected By: Kyle D. Moore
                 Location Area: Basement
                 Specific Location: common area




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                           rrNcr.AssrFtED/ /Eovo
Title: (U) Henry Baird, 13 April 207'7, 1023 W Emaus Allentown   PA
Re: 100N-PH-2093500, 04/1'l /2011


18 General        (U) Fox tactical Black backpack w/ bikinq headlamp
                  and 2 bungee cords



                  Collected On: 04/L3/20L1 L2:00 AM EDT
                  Receipt Number: 11
                  Seizing Individuaf: Kyle D. Moore
                  Collected By: Kyle D. Moore
                  Location Area: Basement
                  Specific Location: cornmon area

18 General        (U) BIack "conduct.or" duffel baq w/ medical equipment


                  Colfected On: 04/13/2011 12:00 AM EDT
                  Receipt Number: 12
                  Seizing fndividual: Kyle D. Moore
                  Collected By: Kyle D. Moore
                  LocaLion Area: Basement
                  Specific Location: common area



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              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA               : CRIM. NO. 4:CR-17-00139
                                       :
                                       :
             v.                        : (Judge Brann)
                                       :
                                       :
 HENRY BAIRD                           : FILED VIA ECF



                      CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on this Wednesday, June
10, 2020, he served a true and correct copy of the foregoing

             EXHIBIT LIST OF THE UNITED STATES FOR
              DEFENDANT’ HENRY BAIRDS SENENCING

by ECF to:

Addressee:        Edward J. Remsa, Esquire
                  Email: rymsza@comcast.net

                                    s/George J. Rocktashel
                                  GEORGE J. ROCKTASHEL
                                  Assistant United States Attorney
                                  Attorney I.D. No. PA44922
